       Case 2:15-cv-01541-CCW Document 235 Filed 09/12/17 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ALEX REINIG, KEN GRITZ, and BOB
SODA, Individually and on
behalf of those similarly situated,                  15cv1541
                                                     ELECTRONICALLY FILED
              Plaintiffs,

                      v.

RBS CITIZENS, N.A.,

              Defendant.

                                         VERDICT FORM

  1. Did Plaintiffs prove by a preponderance of the evidence that Citizens Bank had a policy
      or practice that caused mortgage loan officers to not report all of the hours they worked
      (i.e., to work “off-the-clock”)?


      YES _____              NO _____



You have reached the end of the Verdict Form. Please sign and date the Verdict Form on the
next page and alert the Bailiff that you have reached a verdict.
Case 2:15-cv-01541-CCW Document 235 Filed 09/12/17 Page 2 of 2




    Unanimously agreed to this _____ day of September, 2017.



                   , Foreperson      ___________________________



                                     ___________________________



                                     ___________________________



                                    ___________________________
